CAT 3 /Case:
        RANDOM
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     JUDGE COLEMAN
MAGISTRATE JUDGE FUENTES
                                                                                          REC/1E
                                                                                               7/2021 CR
                                  IN THE UNITED STATES DISTRICT COURT
                                                                                                  11
                                                                                     G. BRUTON
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS RTKH,OUM.SA.SDISTRICT COURT
                                                                    CLE
                                            EASTERN DIVISION

          VIVEK SHAH,                                           )
               Plaintiff,                                       )
                                                                )                 1:21-CV-06148
          v.                                                    )    Case No. _______________________
                                                                )
          NYP HOLDINGS, INC.,                                   )    JURY TRIAL DEMANDED
               Defendant.                                       )


                                       VERIFIED COMPLAINT
                       FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES

                                             PRELIMINARY STATEMENT

                  1.      NYP Holdings, Inc. (“NYP”), a global media outlet, has been exploiting

          Plaintiff’s unlicensed copyrighted images of himself with celebrities, for substantial commercial

          gains for nearly a decade. While Plaintiff was incarcerated, NYP took advantage of his

          weakness, perhaps believing he was a “wacko”1 that did not have the mental capacity to sue.

          NYP published 16 of Plaintiff’s copyright protected images in its print publication as well as its

          online articles, without a license or Plaintiff’s consent, and then falsified and misrepresented

          some of the facts of himself and his criminal case, casting him in an extremely negative light.

                                               NATURE OF THE ACTION

                  2.      This is an action for copyright infringement under Section 501 of the Copyright

          Act. This action arises out of Defendant’s unauthorized reproduction and public display of

          copyrighted photographs of Plaintiff that are owned by him. Accordingly, Plaintiff seeks




          1
           https://nypost.com/2012/08/24/aspiring-actor-accused-in-weinstein-plot-has-history-of-threats-money-
          obsessions-and-stealing-toilets-ex-roomie/


                                                                1
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monetary relief under the Copyright Act of the United States, as amended, 17 U.S.C. § 101 et

seq.

           3.    Plaintiff seeks injunctive, monetary, and declaratory relief against Defendant for

engaging illegal distribution of Plaintiff’s copyrighted images.

           4.    Plaintiff brings this action to address Defendant’s unlawful conduct and to redress

the harm he has suffered and will continue to suffer as a direct result of that conduct, absent

relief.

                                             PARTIES

           5.    Plaintiff Vivek Shah is a natural-born U.S. citizen. In August 2012. he was

arrested by the FBI for Mailing Threatening Communications with intent to extort. He was

sentenced in the Southern District of West Virginia to 87 months in prison, followed by 3 years

of Supervised Release. On February 4, 2019, he was released from prison, and on February 4,

2020, his supervision was terminated by Honorable Jorge L. Alonso of this Court. His principal

place of residence is 236 Woburn Ln, Schaumburg, IL 60173.

           6.    Defendant NYP Holdings, Inc. is a Delaware corporation and is the owner of The

New York Post, a conservative daily tabloid newspaper headquartered in New York City. It also

operates NYPost.com, the celebrity gossip site PageSix.com, and the entertainment site

Decider.com. Its distribution ranked 4th in the US in 2019. Its parent company is News Corp., a

publicly traded company on the NASDAQ. Its principal place of business is 1211 Avenue of the

Americas, New York, NY 10039.

           7.    In acting or omitting to act as alleged herein, NYP was acting through its

employees and/or agents and is liable on the basis of the acts and omissions of its employees

and/or agents.

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       8.       In acting or omitting to act as alleged herein, each employee, officer or agent of

NYP was acting in the course and scope of his or her actual or apparent authority pursuant to

such agencies, or the alleged acts or omissions of each employee or officer as agent were

subsequently ratified and adopted by NYP as principal.

                                  JURISDICTION AND VENUE

       9.       This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq. The Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       10.      This Court has personal jurisdiction over Defendant because:

             a. It publishes content on its website, https://nypost.com, daily, which is distributed

                and accessible to residents of Illinois, including Plaintiff. It generates substantial

                revenue from dozens of advertisements it displays on most of its pages.

             b. The Copyright Images, infra, were published on NYP’s website and in print, that

                were intended for distribution to its viewers and readers in this district.

             c. Upon information and believe, it routinely subscribes residents of Illinois to its

                $4.99/mo recurring subscription of its product known as Post Sports+.

             d. It offers multiple mobile apps to residents of Illinois, containing in-app purchases.

       11.      This Court has authority to grant declaratory and injunctive relief under 17 U.S.C.

§ 502, 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the Fed. Rules of Civ. P.

       12.      Venue is proper in this district under 28 U.S.C. § 1391(b). A substantial part of

the events and omissions giving rise to the claims occurred in this district.




                                                   3
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                                 FACTUAL BACKGROUND

       A.      Plaintiff’s Ownership of the Photographs

       13.     From in or around July 2008 through August 2012, Plaintiff worked as a

professional actor in Hollywood, CA. He has been a member of the Screen Actors Guild since

2009. By means of his profession and other business relationships, Plaintiff obtained access to

exclusive Hollywood events.

       14.     At each event, Plaintiff carried a mobile phone with a camera and/or a compact

digital camera. From time to time, when Plaintiff met a celebrity, he would ask the person if he

could have a photograph with them. Upon acknowledgement, Plaintiff would either ask a friend

or a bystander to take a photograph of them, by handing his camera to the individual. After

taking the photograph, the individual would hand the camera back to Plaintiff.

       15.     Plaintiff had his photographs taken with over 100 celebrities during this time, 16

of which are as follows:

Copyright Image #1: A photograph of Vivek Shah and actress Amy Smart.

Copyright Image #2: A photograph of actor Samuel L. Jackson and Vivek Shah.

Copyright Image #3: A photograph of actress Kristen Stewart and Vivek Shah.

Copyright Image #4: A photograph of actress Mila Jovovich and Vivek Shah.

Copyright Image #5: A photograph of Vivek Shah and actor Bill Paxton.

Copyright Image #6: A photograph of Vivek Shah and actor Tom Cruise.

Copyright Image #7: A photograph of Vivek Shah and actor Zach Galifianakis.

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Copyright Image #8: A photograph of actor Jonah Hill and Vivek Shah.

Copyright Image #9: A photograph of Vivek Shah and Danny DeVito.

Copyright Image #10: A photograph of actor Alec Baldwin and Vivek Shah.

Copyright Image #11: A photograph of actor Jesse Eisenberg and Vivek Shah.

Copyright Image #12: A photograph of singer Ozzy Osbourne and Vivek Shah.

Copyright Image #13: A photograph of actor Ray Romano and Vivek Shah.

Copyright Image #14: A photograph of Vivek Shah and media personality Paris Hilton.

Copyright Image #15: A photograph of actress Sofia Vergara and Vivek Shah.

Copyright Image #16: A photograph of Vivek Shah and actor Adrien Brody.

Collectively, the “Copyright Images.”

          16.    A true and correct copy of each of the above photos is attached hereto as Exhibit

A.

          17.    Plaintiff is the author of all 16 photographs and has at all times been the sole

owner of all right, title and interest in and to the photographs, including the copyright thereto.

          18.    Within a few hours or a few days of the photographs that were taken, Plaintiff

uploaded all 16 of them to his personal Facebook account, some of which he later added to his

IMDB page2.




2
    https://www.imdb.com/name/nm2862542

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           B.      Plaintiff’s Arrest and Release

           19.     On August 10, 2012, Plaintiff was arrested by the FBI while he was visiting his

parents in Schaumburg, IL. He was detained in at the Metropolitan Correctional Center in

Chicago, IL while awaiting transfer to a jail in the Southern District of West Virginia.

           20.     On August 22, 2012, a four-count Indictment was filed against Plaintiff.

           21.     On September 11, 2013, after pleading guilty, Plaintiff was sentenced to 87

months imprisonment followed by three years of supervised release.

           22.     On February 4, 2019, Plaintiff was released from prison.

           23.     Soon upon Plaintiff’s release from prison he discovered NYP’s infringing

activities as stated below.

           C.      Defendant’s Infringing Activities

           24.     On August 23, 2012, at or around 4:00am, NYP published an article on its

website titled “Aspiring actor busted for attempted extortion of Harvey Weinstein: feds” 3

(“Article 1”). The article prominently features Copyright Images #1-14 in a carousel format. A

true and correct copy of the article is attached hereto in Exhibit B. According to the attribution,

credit was given to “IMDB/Facebook” for each of Copyright Images #1-14.

           25.     On August 23, 2012, at or around 4:00am, NYP published another article titled

“A star in his own mind”4 (“Article 2”). A true and correct copy of the article is attached hereto

in Exhibit C. The article provides a “+” sign, signifying a prior expandable image that was

placed in it but was subsequently removed.




3
    https://nypost.com/2012/08/23/aspiring-actor-busted-for-trying-to-extort-millions-from-harvey-weinstein-feds/
4
    https://nypost.com/2012/08/23/a-star-in-his-own-mind/


                                                         6
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           26.     On August 23, 2012, at or around 4:00am, NYP published yet another article

titled “Judge dumb‘struck’”5 (“Article 3”). The article prominently features Copyright Image

#16. A true and correct copy of the article is attached hereto in Exhibit D. Importantly, the use of

Copyright Image #16 had no relationship to the content of the article. According to the

attribution, credit for Copyright Image #16 was given to “IMDB/Facebook.”

           27.     On August 23, 2012, at or around 7:18am, NYP published an article titled

“Accused Weinstein extorter Vivek Shah parties with celebs”6 (“Article 4”). The article

prominently features Copyright Images #1-14. A true and correct copy of the article is attached

hereto in Exhibit E. According to the attribution, credit was given to “IMDB/Facebook” for each

of Copyright Images #1-14.

           28.     On August 23, 2012, at or around 7:02pm, NYP published an article titled

“Harvey Weinstein shaken by extortion attempt: report” 7 (“Article 5”). The article prominently

features a cropped version of Copyright Image #14. A true and correct copy of the article is

attached hereto in Exhibit F. The article does not provide any attribution to Copyright Image

#14.

           29.     On August 24, 2012, at or around 4:00am, NYP published an article titled

“Aspiring actor accused in Weinstein plot has history of threats, money obsessions — and

stealing toilets: ex-roomie”8 (“Article 6”). The article prominently features Copyright Image #15.




5
    https://nypost.com/2012/08/23/judge-dumbstruck/

6
    https://nypost.com/2012/08/23/accused-weinstein-extorter-vivek-shah-parties-with-celebs/

7
    https://nypost.com/2012/08/23/harvey-weinstein-shaken-by-extortion-attempt-report/

8
 https://nypost.com/2012/08/24/aspiring-actor-accused-in-weinstein-plot-has-history-of-threats-money-
obsessions-and-stealing-toilets-ex-roomie/


                                                        7
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A true and correct copy of the article is attached hereto in Exhibit G. The article does not provide

any attribution to Copyright Image #15.

           30.     Articles 1-6 also appeared in print publications of NYP’s daily newspaper, many

of which were placed on its front page along with a copyright image.

           31.     Each Copyright Image appears on NYP’s servers.

           32.     NYP did not license the Copyright Images from Plaintiff for its articles, nor did

NYP have Plaintiff’s permission or consent to publish the photographs on its website.

           33.     Neither Facebook nor IMDB licensed or sublicensed the photographs to NYP.

           34.     NYP’s infringing conduct was willful since 1) it knew that Plaintiff was the

owner of the Copyright Images, 2) it credited IMDB and Facebook when it knew that Plaintiff

had uploaded the images to IMDB and Facebook’s servers under the agreements with each, and

3) it licensed images of Harvey Weinstein - multiple times - from WireImage, a subsidiary of

Getty Images, Inc., but not the Copyright Images from Plaintiff.

           35.     Excluding print revenue, a rough estimate of the ad revenues generated by the

online articles is calculated as follows: 23M total page views (Articles 1, 3, 4, and 5 over a

period of 10 years) x $5 RPM9 (Revenue per Mille of ad views) x 21 ads/article (Average

number of third-party ads in each article) = $2,415,000.

           D.      Defendant’s False Statements

           36.     In Article 1, NYP falsely stated that Plaintiff was “threatening to kill [Harvey

Weinsten].”

           37.     In Article 2, NYP falsely stated that 1) “[Plaintiff] was so proud of his snapshot

with Tom Cruise, he e-mailed it to his parents in the Chicago suburb of Schaumburg, Ill., who



9
    https://alphainvestors.com/seo/100-day-traffic/

                                                      8
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believed him to be a successful actor,” 2) Plaintiff “faked his way onto Hollywood red carpets,”

3) “His other roles included a 2012 low-budget drama, ‘Monday Morning,’ in which he plays a

‘liquor- store worker,’” and 4) Plaintiff “is also listed as the producer of ‘Yeh Khula Aasmaan’ a

2012 movie[.]”

        38.    In Article 5, NYP falsely stated that 1) Plaintiff was a “wannabe actor,” and 2)

Plaintiff “threatened to kill [Harvey Weinstein].”

        39.    In Article 6, as the caption of Copyright Image #15, NYP falsely stated: 1)

“FRAUD,” 2) that Plaintiff “threatened to kill Harvey Weinstein” and 3) that Plaintiff “liked to

pretend he was a bigwig.” In Article 6, it NYP also falsely stated that 1) Plaintiff “crashed

Tinseltown events” and 2) the Criminal Complaint details Plaintiff “setting up a bank account in

Cyprus.”

        E.     Defendant’s Conduct Cannot be Considered Fair Use

        40.    The copyright law’s goal of promoting the Progress of Science and useful Arts, as

provided in Article I, Section 8, Clause 8, of the United States Constitution, would not be better

served by allowing the aforementioned use than by preventing it.

        41.    The fact that NYP is a news reporting entity does not relieve itself of its

obligations to intellectual property laws.

        42.    NYP’s use of Plaintiff’s copyrighted work was not transformative. It added no

value to Plaintiff’s original work. Nor did it create new information, aesthetics, insights or

understandings of the original work when it exploited the copyrighted images for commercial

use.

        43.    In its most literal sense, NYP stole Plaintiff’s personal images by simply inserting

the photos in its articles which only recited some factual information.



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       44.     Plaintiff’s photographs are creative work, in that he directed and posed the

subjects of the photos, in addition to selecting the appropriate place to stand and face a direction

for background.

       45.     Nearly all the copyrighted work was used as a whole and unedited version of

Plaintiff’s photographs. NYP’s use of the full-scale version and some cropped photographs

belonging to Plaintiff failed to provide context to its potential readers to understand the criminal

allegations against him.

       46.     Plaintiff, either himself, or by means of his family or attorney, would have

licensed the Copyright Images for secondary use. After all, he “intended to obtain publicity that

he hoped would further his acting career.” Plea Agreement, United States v. Shah, No. 5:12-cr-

00172 (S.D.W.V. May. 9, 2013) (Doc. 85 at 10).

       47.     Publishing the Copyright Images without permission effectively destroyed the

primary market for its use. As the owner of the work, Plaintiff had the right to try to sell the

Copyright Images to media outlets, if he decided to do so.

       48.     By unlawfully publishing and sensationalizing the Copyright Images without a

license, Plaintiff was effectively chilled from licensing them in the market.

                      CAUSE OF ACTION – COPYRIGHT INFRINGEMENT

                                          (17 U.S.C. §§ 106, 501)

       49.     Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       50.     NYP infringed Plaintiff’s copyright in Copyright Images #1-16 by reproducing

and publicly displaying the photographs on its website. NYP is not, and has never been, licensed

or otherwise authorized to reproduce, publicly display, distribute and/or use the photographs.

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          51.   NYP actually copied Plaintiff’s photographs for commercial purposes. There is

substantial similarity between Plaintiff's copyright-protected photographs and those used by

NYP in its various articles.

          52.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          53.   Upon information and believe, the foregoing acts of infringement by NYP have

been willful, intentional, and purposeful, in disregard of and with indifference to Plaintiff’s

rights.

          54.   As a direct and proximate cause of Defendant’s infringement of Plaintiff's

copyright and exclusive rights under copyright, Plaintiff is entitled to recover his actual damages

and Defendant’s profits pursuant to 17 U.S.C. § 504(b).

          55.   Plaintiff further is entitled to recover his attorney’s fees and full costs pursuant to

17 U.S.C § 505.

                                      DEMAND FOR JURY TRIAL

          56.   Under Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues triable

as of right.

                                          REQUESTED RELIEF

          57.   Plaintiff respectfully requests judgment as follows:

          a.    That Defendant be adjudged to have infringed upon Plaintiff’s copyright in

The Copyright Images in violation of 17 U.S.C §§ 106 and 501;




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         b.     That Defendant be permanently enjoined from displaying, exhibiting, showcasing,

or otherwise retaining a copy of the Copyright Images on its website and servers;

         c.     That Defendant be enjoined to use its Google Search Console account to remove

Google’s indexing of the Copyright Images or any other reference thereof;

         d.     That Plaintiff be awarded his actual damages and Defendant’s profits, gains or

advantages of any kind attributable to Defendant’s infringement of Plaintiff’s photographs;

         e.     The Defendant be required to account for all profits, income, receipts, or other

benefits derived by Defendant as a result of its unlawful conduct;

         f.     That Plaintiff be awarded his costs, expenses and attorney’s fees pursuant to §

505;

         g.     That Plaintiff be awarded pre-judgment interest; and

         h.     Order such other relief as this Court deems just and equitable.

         Dated: November 17, 2021

         Respectfully submitted,

         /s/ Vivek Shah

         Vivek Shah
         236 Woburn Ln
         Schaumburg, Il 60173


                                   VERIFICATION OF COMPLAINT

                I, Vivek Shah, hereby declare under penalty of perjury that the foregoing facts

contained in this Complaint are true and correct to the best of my knowledge.

         Executed on November 17, 2021

         /s/ Vivek Shah
         VIVEK SHAH


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                      Exhibit A
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   Copyright Image #1: A photograph of Vivek Shah and actress Amy Smart.
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 Copyright Image #2: A photograph of actor Samuel L. Jackson and Vivek Shah.
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 Copyright Image #3: A photograph of actress Kristen Stewart and Vivek Shah.
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  Copyright Image #4: A photograph of actress Mila Jovovich and Vivek Shah.
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    Copyright Image #5: A photograph of Vivek Shah and actor Bill Paxton.
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    Copyright Image #6: A photograph of Vivek Shah and actor Tom Cruise.
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 Copyright Image #7: A photograph of Vivek Shah and actor Zach Galifianakis.
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    Copyright Image #8: A photograph of actor Jonah Hill and Vivek Shah.
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     Copyright Image #9: A photograph of Vivek Shah and Danny DeVito.
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   Copyright Image #10: A photograph of actor Alec Baldwin and Vivek Shah.
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 Copyright Image #11: A photograph of actor Jesse Eisenberg and Vivek Shah.
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 Copyright Image #12: A photograph of singer Ozzy Osbourne and Vivek Shah.
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   Copyright Image #13: A photograph of actor Ray Romano and Vivek Shah.
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Copyright Image #14: A photograph of Vivek Shah and media personality Paris Hilton.
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 Copyright Image #15: A photograph of actress Sofia Vergara and Vivek Shah.
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  Copyright Image #16: A photograph of Vivek Shah and actor Adrien Brody.
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                      Exhibit B
                               “Article 1”
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                      Exhibit C
                               “Article 2”
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                      Exhibit D
                               “Article 3”
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                      Exhibit E
                               “Article 4”
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                      Exhibit F
                               “Article 5”
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                      Exhibit G
                               “Article 6”
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